                 Case 1:18-cv-00007 Document 1 Filed 03/05/18 Page 1 of 8



     THOMPSON LAW, LLC
     Cohn M. Thompson, Esq.
2
     2nd Floor, J.E. Tenorio Bldg.
                                                                                    FILED
                                                                                        Clerk
     PMB 917 Box 10001                                                              District Court
 3
     Saipan, MP 96950
 4   Telephone No.: (670) 233-0777                                                 MAR ~5
     Facsimile No.: (670) 233-0776
 5   cmtlaw@live.com                                                      for the NortherP~.tv1W~fla lsiand~

 6   Attorney for Thomas L. Nolte

 7                                      IN THE DISTRICT COURT
 8                          OF THE NORTHERN MARIANA ISLANDS
 9
     THOMAS L. NOLTE,                                  CIVIL ACTION NO
10
                           Plaintiff,
11
                     vs.
                                                       COMPLAINT and DEMAND FOR JURY
12
     XTRA AIRWAYS, INC., and DOES I          —   V,
13
                           Defendants.
14

15         COMES NOW, the Plaintiff, Thomas L. Nolte (“Mr. Nolte”), by and through
16
     counsel to make the following allegations against XTRA Airways, Inc. and TEM
17
     Enterprises Dba XTRA Airways for breach of contract and fraud.
18

19
                                         JURISDICTION AND VENUE
20

21          1.     The United States District Court for the Northern Mariana Islands is the

22   proper venue for this action pursuant to 28 U.S.C.      §~ 1332(a)(1), because this is the
23   District in which a substantial part of the events or omissions giving rise to the claims
24   occurred.
25          2.     All conditions precedent to the institution of this lawsuit have been fulfilled.
                 Case 1:18-cv-00007 Document 1 Filed 03/05/18 Page 2 of 8


 1                                              PARTIES
 2         3.      Mr. Nolte is a resident of Saipan, United States of America and during all

     times relevant to this complaint was a citizen of the United States of America.
 4
           4.     At all relevant times, the Defendant XTRA Airways, Inc. (“XTRA Airways”)
 5
     is a Corporation incorporated pursuant to the laws of Florida with its principal place of
 6
     business in Coral Gables, Florida.
 7

 8        5.     Mr. Nolte is ignorant of the true names and capacities of Defendants sued
     as Does I through V, inclusive. Therefore, Mr. Nolte sues said Defendants by such

10   fictitious names. Mr. Nolte reserves the right to amend the complaint to name the Doe
11   Defendants as they become known. Mr. Nolte alleges that each of the Defendants
12   named as Doe Defendants was in some manner responsible for the acts and omissions
13   alleged herein and Mr. Nolte will amend the complaint to allege such responsibility when
14   Mr. PohI has ascertained the identity of the Doe Defendants.
15          6.     It is further alleged on information and belief that the named and unnamed
16
     Defendants in this Complaint are alter egos, joint employers, and/or integrated
17
     enterprises of each other.
18
            7.     All of the acts and failures to act alleged herein were duly performed by
19

20   and attributable to all Defendants, each acting as successor, agent, employee, or under
21   the direction and control of the others, except as otherwise specifically alleged. The
22   alleged acts and failures to act were within the scope of such agency and/or
23   employment, and each Defendant participated in, approved and/or ratified the other
24   Defendants’ unlawful acts and omissions alleged in this complaint. Whenever and
25   wherever reference is made in this Complaint to any act by a Defendant or Defendants,


                                                  2
                  Case 1:18-cv-00007 Document 1 Filed 03/05/18 Page 3 of 8


 1   such allegations and reference shall also be deemed to mean the acts and failures to
 2   act of each Defendant acting individually, jointly, and/or severally.
 3

 4
                                         STATEMENT OF FACTS
 5
            8.     Mr. Nolte is and, at all times relevant to this complaint, was qualified for
 6
     the position of Manager of Asia Pacific with the Defendant. In early 2017, XTRA Airways
 7

 8   decided to enter the airline market in China and Saipan.
           9.     XTRA Airways knew that Mr. Nolte was qualified for a management level

10   position to head up the Saipan office.
ii          10.    XTRA Airways knew that Mr. Nolte was living and working in Boulder
12   Colorado at the time they began to recruit him for the management position in Saipan.
13          11.    XTRA Airways knew that in order to accept any management position with
14   XTRA Airways, Mr. Nolte would need to quit his job in Boulder and move out of his
15   home and relocate to Saipan.
16
            12.    XTRA Airways knew that Mr. Nolt&s relocation would require Mr. Nolte to
17
     sacrifice his established lifestyle for the sake of a new position in Saipan.
18
            13.    In April 2017, XTRA Airlines initiated the process of hiring Mr. Nolte for a
19

20   management position in Saipan.
21          14.    Brian Dagot, XTRA Airways VP for International Markets contacted Mr.
22   Nolte in early April to ask Mr. Nolte if he would be interested in a management position
23   in Saipan.
24          15.    After a couple of phone interviews with Mr. Dagot and other XTRA
25   Airways executives, Mr. Nolte was invited to the company headquarters            in Coral


                                                   3
                  Case 1:18-cv-00007 Document 1 Filed 03/05/18 Page 4 of 8


 1   Gables Florida to meet with Andrew Lotter the company COO and Frank Visconti, the
 2   company CEO.

            16.    Mr. Nolte met with the principals of XTRA Airways in Coral Gables Florida
 4
     on April 26, 2017. At this meeting, XTRA Airways explained that they wanted Mr. Nolte
 5
     to manage the airline’s Asian operations from the Saipan office.             XTRA Airways
 6
     principals explained that they established routes from China in response to growing
 7
     Chinese tourism in the area. Flights would originate in Nanjing and Tian Jin initially but

     the company expected to expand their routes over time.

10          17.    On or about May 23, 2017, Defendant offered Mr. Nolte a job as Manager
ii   of Asia Pacific in the Offer of Employment as Manager of Asia Pacific (“Offer of
12   Employment”).
13          18.    Defendant’s offer stated that it would compensate $80,000.00 a year for
14   Mr. Nolte’s services as Manager of Asia Pacific.
15          19.    On or about May 26, 2017, Mr. Nolte, reasonably relying on the

     representations of the Defendant, accepted Defendant’s Offer of Employment and

     agreed to work as the Manager of Asia Pacific for Defendant.
18
           20.     On or about May 26, 2017, Mr. Nolte signed and agreed to the terms of

     the Relocation Policy   —   Eligible Expenses (“Relocation Policy”). Attached as Exhibit C is

21   a true and correct copy of the Relocation Policy.
22         21.     On or about May 26, 2017, Mr. Nolte, reasonably relying on the
23   representations of the Defendant, agreed to relocate to Saipan, Commonwealth of the
24   Northern Mariana Islands to work as the Manager of Asia Pacific for Defendant.
25



                                                     4
                  Case 1:18-cv-00007 Document 1 Filed 03/05/18 Page 5 of 8


 1          22.    On or about June 9, 2017 Mr. Nolte, reasonably relying on the
 2   representations of the Defendant, moved from his home in Boulder, Colorado to Saipan,

     Commonwealth of the Northern Mariana Islands to work as the Manager of Asia Pacific
 4
     for Defendant.
 5
            23.    At all relevant times, Mr. Nolte performed his duties for the Defendant in a
 6
     competent manner.
 7
            24.    On or about December 1, 2017 Defendant notified Mr. Nolte that he would
 8
     be removed from his position with Defendant effective November 27, 2017

10

11                              BREACH OF WRITTEN CONTRACT
12          25.    Mr.   Nolte incorporates herein         by reference paragraphs    1-24 as
13   hereinabove alleged as if set for the here in full.
14          26.    Plaintiff performed all of the duties and responsibilities and fulfilled the
15   conditions of the Offer of Employment and Relocation Policy.
16
            27.    Defendant breached the Offer of Employment by terminating Mr. Nolte’s
17
     employment without excuse or justification.
18
            28.    Due to Defendant’s breach of the contract, Mr. Nolte was damaged and
19

20   continues to be damaged in an amount to be proven at trial.
21

22

23          /
24

25          II


                                                    5
                  Case 1:18-cv-00007 Document 1 Filed 03/05/18 Page 6 of 8


 1                                 BREACH OF ORAL CONTRACT
 2          29.    Mr.   Nolte incorporates herein by reference paragraphs 1-28 as

     hereinabove alleged as if set for the here in full.
 4
            30.    Mr. Nolte performed all of the duties and responsibilities and fulfilled the
 5
     conditions of the Contract.
 6
            31.    Defendant breached the Offer of Employment by terminating Mr. Nolte
 7

 8   without excuse or justification within less than a year.
            32.   Due to Defendant’s breach of the contract, Mr. Nolte was damaged and

10   continues to be damaged in an amount to be proven at trial.
11                                              FRAUD
12          33.    Mr. Nolte incorporates herein by reference paragraphs I through 24 as
13   hereinabove alleged as if set forth here in full.
14          34.    Defendant’s statements contained in paragraphs I through 12 and those
15   promises made in the Offer of Employment were false and untrue. In truth, the
16
     Defendant acted with reckless disregard in the way       it   recruited Mr. Nolte. XTRA made
17
     statements to the effect that Mr. Nolte could reasonable expect extended employment in
18
     excess of one year if he accepted the job with XTRA Airways. XTRA Airways made
19

20   false statements to Mr. Nolte about its ability to operate flights between the CNMI and
21   China legally so that it could retain Mr. Nolte.      In fact, these statements were false,
22   XTRA Airways could not legally operate flights between China and the CNMI at the time
23   Mr. Nolte first arrived in Saipan.
24          35.    On information and belief, XTRA Airways never intended to honor the
25   commitments it made to Mr. Nolte but merely intended to induce           ,   Mr. Nolte to accept


                                                    6
                     Case 1:18-cv-00007 Document 1 Filed 03/05/18 Page 7 of 8


 1   the position and go to work for the benefit of Defendant. Alternatively, XTRA Airways
 2   was reckless as to the truth of the statements it made to Mr. Nolte in order to encourage

     Mr. Nolte to resign from his prior employment and move from his home.
 4
             36.      Mr. Nolte relocated to Saipan, Commonwealth of the Northern Mariana
 5
     Islands in reliance of Defendant’s misrepresentations and reckless statements.
 6
     Defendant misrepresented its true intentions with the intent to deceive Mr. Nolte in that
 7

 8   it did not intend to honor the terms of the Offer of Employment or oral promises made to
     Mr. Nolte or XTRA Airways was reckless with respect to its representations.

10           37.      The Defendant knew or was reckless with respect to the statements in the
ii   Offer of Employment and other promises to be false when it made them.
12           38.      Mr. Nolte believed the statements because Defendant had the apparent
13   authority, ability and intent to perform. Mr. Nolte acted in justifiable reliance upon the
14   representations of Defendant to his detriment.
15           39.       Defendant acted with malice and in the conscious disregard of the rights
16
     of Plaintiff.
17
                                       DEMAND FOR JURY TRIAL
18

19

20           40.       Mr. Nolte hereby demands a jury trial on all issues triable by a jury.
                                         PRAYER FOR RELIEF

22           WHEREFORE, Mr. Nolte prays for judgment as follows:
23       1. Forlostwages;
24       2. For special and compensatory damages according to proof;
25       3. For punitive damages in an amount within the discretion of the trier of fact;


                                                      7
             Case 1:18-cv-00007 Document 1 Filed 03/05/18 Page 8 of 8


 1   4. For reasonable attorneys fees incurred;
 2   ~   Forcostsofsuit incurred;

     6. For such other and further relief as the court may deem proper.
 4

 5
     Respectfully Submitted this ~ day of March, 2018.
 6




                                                  :0M~02~(\
10                                                 Cohn M. Thom~sor~          N.
11                                                 CNMI Bar No. 02 1
                                                   AttorneyforT om sL.Nolte
12

13

14

15

16

17

18

19

20

21

22

23

24

25




                                             8
